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                                                         Minimum MandatoryYES
                                                                 Rule 35/oKl.l YES
                                                                 Appeal Waiver YES
                                                                         Other YES



                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION


UNITED STATES OF AMERICA                            SECOND
                                                    SUPERSEDING
                                                    INDICTMENT
V.                                                   CASE NO. 5:17-CR-5


CEDRIC KING



                      SUMMARY OF PLEA AGREEMENT
                                                                U.S. DISTRICT COUR'.
DEFENSE COUNSEL:                                               Southern District of GA -
                                                                    Filed In Offlce

David McCrea                                                            ^^

STATUTES CHARGED:                                                   DeoM^Clerk

Count 1-21 U.S.C. §846 - Conspiracy to Possess with Intent io Distribute
Controlled Substances


Count 2" 18 U.S.C. §924(c)- Possession of Firearms in Furtherance of Drug
Trafficking Crime

COUNT PLEADING TO:


Count 1-21 U.S.C. §846 - Conspiracy to Possess with Intent to Distribute
Controlled Substances


STATUTORY PENALTIES:


Imprisonment of not more than life and not less than 10 years;
Fine of not more than $10,000,000;
Supervised relea.se term of at least 5 years;
$100 special assessment.

The defendant in this case has a prior conviction for a felony drug offense that has
become final, therefore the term of statutory penalties are;


*Other-FOIA and Fed. R. Crim. P. 11(1) waivers
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